Case 3:05-cr-30015-DRH     Document 149 Filed 09/26/05      Page 1 of 1   Page ID
                                     #297



                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS



UNITED STATES OF AM ERICA,

Plaintiff,

vs.

TRAVIS NORMAN,

Defendant.                                         No. 05-CR-30015-DRH



                          MEMO RANDUM AND ORDER

HERNDO N, District Judge:

             Before the Court is Defendant Travis Norman’s Motion requesting

preapproval to initiate a telephone conference between counsel for co-defendants.

(Doc. 147.) The Court, being fully advised in the premises, GRAN TS Defendant’s

Motion (Doc. 147) and preapproves a telephone conference between defense

attorneys, tentatively scheduled for September 27, 2005.




             IT IS SO ORDERED.

             Signed this 26th day of Septem ber, 2005.




                                                   /s/        David RHerndon
                                                   United States District Judge
